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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS
TEXARKANA DIVISION
CHRISTA CARTER CHAMPION
VS.

CASE No. 5;16-cv-3
(Jury)

STATE FARM COMPANIES, STATE
FARM COUNTY MUTUAL INSURANCE
COMPANY OF TEXAS, STATE FARl\/I
MUTUAL AUTOMOBILE INSURANCE
COMPANY, AND STATE FARM FIRE
AND CASUALTY COMPANY

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DEFENDANTS STATE FARM COUNTY MUTUAL INSURANCE COMPANY ()F
TEXAS, STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY AND
STATE FARM FIRE AND CASUALTY COMPANY’S MOTION PURSUANT
TO RULE 12(b)(6) AND ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW, State Farm County Mutual Insurance Company ofTeXaS, State Farm Mutual
Automobile lnsurance Company and State Farm Fire and Casualty Company, Defendants in the
above styled and numbered cause, and files this their Motion Pursuant to Rule lZ(b)(é) and Original
AnSWer to Plaintiff’ s pleadings on tile herein, and for such answer Would respectfully ShoW unto the
Court as follows:

I.
Motion for Judgment 011 the Pleadings Pursuant to Fed. R. Civ. P. 12(b)(61

Defendants move for judgment on the pleadings as Plaintiff has failed to state a claim upon
Which relierC can be granted. Plaintiff’s Original Petition establishes that the policy of insurance
vvhich is the subject of this dispute Was issued by State Farm Lloyds, incorrectly identified as State
Farm Companies. Defendants State Farm County Mutual Insurance Company of TeXas, State Farm
Mutual Automobile Insurance Company and State Farm Fire and Casualty Company did not issue

the policy or maintain any relationship Whatsoever to the policy of insurance Which is at issue.

Accordingly, Defendants move that they be dismissed from this action.

 

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TO RULE 12(b) (6) AND 0R151NAL ANSWER~-PAGE 1

 

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II.
Original Answer
l. The allegations of Paragraph 1 of Plaintiff’s Original Petition are denied.
2. The allegations of Paragraph 2 ofPlaintiff’ s Original Petition are admitted as to Plaintiff, but
are denied as to Defendants.
3. The allegations of Paragraph 3 ofPlaintiff’ s Original Petition are denied as to alleged breach
of contract and statutory violations, however the remaining allegations are admitted
4. The allegations of Paragraph 4 of Plaintiff’s Original Petition are denied.
5 .` The allegations of Paragraph 5 ofPlaintiff’ s Original Petition are neither admitted nor denied
for lack of sufficient information to justify belief, but admit that the amount in controversy satisfies
the Court’s jurisdictional requirements
6. The allegations of Paragraph 6 of Plaintiff’ s Original ‘Petition are denied to the extent
Defendants herein did not issue the insurance policy at issue in this case.
7. The allegations of Paragraph 7 of Plaintiff’ s Original Petition are denied.
8. The allegations of Paragraph 8 of Plaintiff’s Original Petition are denied.
9. The allegations of Paragraph 9, including items A thru C, of Plaintiff’ s Original Petition are
denied.
10. The allegations of Paragraph 10 of Plaintiff’s Original Petition are denied.
ll. The allegations of Paragraph ll of Plaintiff’ s Original Petition are admitted
12. Plaintiff has failed to state a claim upon Which relief may be granted
AFFIRMATIVE DEFENSES
13. Defendants State Farm County Mutual lnsurance Company of Texas, State Farm Mutual
Automobile Insurance Company and State Farm Fire and Casualty Company are not liable in the

capacity sued.

 

DEFENDANTS STATE FARM CO UNTY MUTUAL INSURANCE CoMPANY OF TEXAS STATE FARM MUTUAL
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To RULE 12(b) (6) AND ORIGINAL ANSWER__PA GE 2

 

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14. Defendants State F arm County Mutual lnsurance Company of Texas, State Farrn Mutual
Automobile Insurance Company and State Farm Fire and Casualty Company have no contractual
relationship With Plaintiff concerning the subject matter of this action.

15. Defendant requests a jury trial in the above entitled and numbered action.

WHEREFORE, PREMISES CONSIDERED, Defendants State Farm County Mutual
Insurance Company of Texas, State Farm Mutual Automobile Insurance Company and State Farm
Fire and Casualty Company pray that upon final hearing hereon Plaintiff take nothing by reason of
her Suit; that Defendants recover their costs in this behalf expended; and that they have such other
and further relief, whether at law or in equity, to which they may show themselves to be justly
entitled

Respectfully submitted,

BOYD & BOYD

BY: /s/ Paul M. Bovd
PAUL M. BOYD
State Bar No. 02775700
1215 Pruitt Place
Tyler, TeXas 75703
903/526-9000
903/526-9001 (FAX)
boydpc@tyler.net

ATTORNEY FOR DEFENDANT

CERTIFICATE OF SERVICE

l hereby certify that on this the _if_?»~ day of Januaiy, 2016, a true and correct copy of the above
and foregoing instrument was forwarded via electronic means to:

Ms. Christa Carter Champion
6078A Averill Way

Dallas, TeXas 75225

[PRO SE PLAINTIFF]

/s/ Paul M. Bovd `
PAUL M. BOYD

 

DEFENDANTS STATE FARM CO UNTY MUTUAL INSURANCE COMPANY OF TEXAS, STATE FARM MUTUAL
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TO RULE 12(b)(6)/1ND ORIGINAL ANSWER_-PAGE 3

 

